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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA

     vs.                                   Criminal Action 2:16-cr-010(2)
                                           Judge Graham
BRANDON HAMILTON

                         REPORT AND RECOMMENDATION


     Defendant Brandon Hamilton is charged with one (1) count of
conspiracy to defraud the United States, 18 U.S.C. § 286, and ten (10)
substantive counts of submission of fraudulent claims to the United
States, 18 U.S.C. § 287. Indictment, ECF No. 1. The United States of
America and defendant entered into a plea agreement1 whereby defendant
agreed to enter a plea of guilty to Count 1 of the Indictment. On
January 19, 2016, defendant, accompanied by his counsel, appeared for
an arraignment.    Defendant consented, pursuant to 28 U.S.C.
§636(b)(3), to enter a guilty plea before a Magistrate Judge.            See
                                                       th
United States v. Cukaj, 2001 WL 1587410 at *1 (6            Cir. 2001)
[Magistrate Judge may accept a guilty plea with the express consent of
the defendant and where no objection to the report and recommendation
is filed]; United States v. Torres, 258 F.3d 791, 796 (8th Cir. 2001);
United States v. Dees, 125 F.3d 261, 263-69 (5th Cir. 1997); United
States v. Ciapponi, 77 F.3d 1247, 1251 (10th Cir. 1996).
     During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.


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       The Plea Agreement, ECF No. 11, includes a waiver of defendant’s right
to appeal except under very limited circumstances.
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        Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.     Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges returned in the
Indictment and the consequences of the plea to Count 1 of the
Indictment.     Defendant was also addressed personally and in open court
and advised of each of the rights referred to in Rule 11 of the
Federal Rules of Criminal Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.         Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on January 15, 2016, represents the
only promises made by anyone regarding the charges in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant
may nevertheless not withdraw his guilty plea.
        Defendant confirmed the accuracy of the material aspects of the
statement of facts supporting the charge.        He confirmed that he is
pleading guilty to Count 1 of the Indictment because he is in fact
guilty of the offense charged in Count 1 of the Indictment.           The Court
concludes that there is a factual basis for the plea.
        The Court concludes that defendant’s plea of guilty to Count 1 of
the Indictment is knowingly and voluntarily made with understanding of
the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Indictment be accepted.      Decision on acceptance or rejection
of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
        In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
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Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.            28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of
Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States
v. Walters,    638 F.2d 947 (6th Cir. 1981).




January 19, 2016                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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